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                                                                                                  EXHIBIT 2

  ALEXANDERE. JONES              fREESPffCffSYSTEMS
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   IP Assets Auction Overbid Form
   Highest & Best Bid Deadline: November 13,2024 @ 10:30 am CST

        Buyer Name
             Phone 1                                                     Phone 2
             Address
            State/Zip     -fx          1 i OD
            Partner •           J..w /..c.+li

   Bid Packages
   Note: Bids for each package below are non-contingent on winning any other lots. You may bid on multiple
   packages: We will consider your highest and best package option when evaluating bids.

   LOTS                                                                                   BID
   Lot la Production IP with Equipment (Building 2 & 3)                                   $
   Lot 1b I Production IP without Equipment                                               $
   Lot 1c I Production Equipment Only (Building 2 & 3)                                    $
   Lot 2a I E-commerce IP with Inventory                                                  $
   Lot 2b I E-commerce IP without Inventory                                               $
   Lot 2c I Inventory Only                                                                $
   Lot 3 I Domain Names                                                                   $
   Lot 4 I Contested Domain Names                                                         $
   LOT GROUPS

   Group 11 Production AND E-commerce Intellectual Property Only (Lot 1b & 2b)            $
   Group 2 I Production AND E-commerce IP, Equipment & Inventory (Lot 1a & 2a)            $   >,?,~D tJ&O.DI>
   Group 3 I Domain Names (Lot 3 & 4)
                                                                                          $   I 50 1 o ""• ()d
   Group 41 All Intellectual Property, Equipment, Inventory & Domains (Lots 1 -4)         $   ~ 51,0 1 IJOD, 4>t)
   Group 5 All Intellectual Property & Equipment (no inventory) (Lots 1a & 2b)            $   ! 1 / bo   1   O~o.(J'f)
   Group6     All Intellectual Property & Inventory (no equipment) (Lots 1b & 2a)         $   '2-,~l         D()O,(/f/
   Group 7 Equipment & Inventory (no IP) (Lots 1c & 2c)
                                                                                          $   7$"0,~.oo
   I hereby submit my over bid for the Packages above in accordance with the terms and conditions of the bid package
   and sale order. All bids are irrevocable and final.

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   Date:     11/ 11,J )t,4
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